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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

                                                      )
In re                                                 )       Involuntary Case
                                                      )       Chapter 7
LEGACY GLOBAL SPORTS, L.P.,                           )       Case No. 20-11157-JEB
                                                      )
                       Alleged Debtor                 )
                                                      )

                        DECLARATION OF JOSEPH S.U. BODOFF

        I, Joseph S.U. Bodoff, hereby state as follows:

        1.      I am a partner in the law firm of Rubin and Rudman LLP and am co-counsel with

Paula K. Jacobi in representing the Petitioning Creditors in this case.

        2.      I received today from an attorney representing a creditor of one of the

subsidiaries of Legacy Global Sports L.P. (“Legacy”) the attached letter terminating as of

yesterday all of the employees of Legacy’s hockey business.

        Signed under the pains and penalties of perjury this 19th June, 2020.


                                                       /s/ Joseph S.U. Bodoff
                                                      Joseph S.U. Bodoff




                                  CERTIFICATE OF SERVICE

        It is hereby certified that on June 19, 2020, a true and correct copy of the foregoing
Declaration was served through the ECF system on all parties registered to receive notice
thereunder and by email to those parties having entered their appearance who are not so
registered.


                                                       /s/ Joseph S.U. Bodoff
                                                      Joseph S.U. Bodoff




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                             Exhibit 1
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                                 77 Sleeper St., Floor 2
                                 Boston, MA 02210

 June 18, 2020

 By E-Mail


 Re:     Legacy Global Sports, L.P./ COVID-19

 Dear Employees:

         I am writing to provide you with an update regarding Legacy Global Sports, L.P.
 (the “Company”) and its various operations.

          As you are aware, the sudden and unexpected impact of the COVID-19 pandemic has
 resulted in a severe disruption to the youth sports industry. Late last month, a group of creditors
 filed an involuntary bankruptcy petition (the “Involuntary Petition”) against the Company on May
 20, 2020 under Chapter 7 of the United States Bankruptcy Code in the United States Bankruptcy
 Court for the District of Massachusetts.

         As a result. the Company will need to conduct layoffs and your employment will be
 terminated on June 18, 2020.

         The Company deeply regrets and understands the uncertainty this process will cause our
 valued employees. We would have preferred to provide this notice 60 days before your
 termination as required by the Worker Adjustment and Retraining Notification (“WARN”) Act,
 29 U.S.C. §§ 2101–2102. However, the Involuntary Petition, together with the unforeseen and
 unpredictable business circumstances caused by the COVID-19 pandemic, including the
 unknown and varied length of different states’ restrictions on gatherings of people, precluded us
 from providing more advance notice.

         We very much appreciate your contributions and dedication to the business. If you have
 any questions about the above information please contact HR@legacyglobalsports.com. We
 will keep you apprised of any ongoing developments.
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                                            Termination Guide


This guide provides important termination reminders and information you may need after leaving the
company. This summary does not apply to interns or non-U.S. employees.

Contact HR@legacyglobalsports.com for additional state-specific information, questions on policies,
and/or items not covered in this document.

Contact Information: Forwarding Address

   •   Before your employment ends, be sure to update ADP with a forwarding address, or a
       permanent address through which you will be able to receive any additional checks, Form W - 2
       or other materials which may be mailed to you.
           o https://workforcenow.adp.com/workforcenow/login.html
           o If you need your password reset, please contact
               payrollquestions@legacyglobalsports.com
   •   Furthermore, please update your BambooHR profile to receive any benefits/COBRA information.
       Please double check that you have a personal email address under the ‘personal’ tab
           o https://legacyglobalsports.bamboohr.com/login.php
           o If you have issues logging in, please contact HR@legacyglobalsports.com to reset your
               password.

Benefits Information: Health, Dental, and Vision

   •   Termination of benefits: medical, dental, vision, FSA and DCA terminate at the end of the
       termination month. Basic Life, Vol Life, Vol LTD and Vol STD end at midnight on the date of
       termination.
   •   Contact your health providers for questions on claims prior to your termination.

Benefits Information: COBRA

   •   Right of coverage upon termination: Federal law (the Consolidated Omnibus Budget
       Reconciliation Act or “COBRA”) states that, upon termination of employment for any reason
       other than gross misconduct, you (including any covered persons who will also lose coverage
       due to your termination of employment) must be provided the opportunity to continue
       coverage under the Company's health, dental, and vision plan.
   •   Generally, you should receive the COBRA package within two weeks of your date of termination.
       You must elect COBRA continuation coverage within 60 days from the date on the COBRA
       Election Notice or your termination date, whichever is later. The notice will be sent from our
       COBRA Administrator, HRCTS. They may be reached by calling 603-647-1147 or by visiting
       https://www.hrcts.com/
   •   In most cases, the charge for continuation of coverage will be 102% of the full cost under the
       Plans. For more information on COBRA, please refer to the plans’ Summary Plan Description
       (SPD).


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                                            Termination Guide
Benefits Information: Flexible Spending Account

   •   If you are enrolled in a Flexible Spending Account (FSA), your participation ends at the end of
       the termination month.
   •   If your FSA is “underspent”, meaning you’ve spent less than you’ve contributed to your FSA to
       date you, will be able to continue this coverage. If you elect COBRA coverage, you’ll continue to
       make contributions to your FSA on a taxable basis and your entire FSA balance will be available
       for you to use on FSA eligible expenses. You may be charged up to 102% of the cost to
       administer the FSA, so you may pay your salary contribution on a taxable basis, plus the FSA
       admin fee and an additional 2% COBRA admin fee.
   •   If you spent more than you’ve contributed to date (“overspent”), then you wouldn’t be entitled
       to COBRA for your FSA.
   •   In order to access your account beyond your termination date, please contact HRCTS directly by
       calling 603-647-1147.

Benefits Information: Insurance

   •   Coverage terminates the date your employment ends.

Benefits Information: 401K

   •   Please contact the Fidelity 401K participant help line 1-800-603-4015 or netbenefits.com. They
       can direct you on options for your 401K balance.

Payslips or W-2’s:

   •   To access your payslips and W-2’s, go to ADP.

State Unemployment Compensation:

   •   If your role has been eliminated you may also be eligible for unemployment.
   •   To obtain necessary forms or instructions regarding the application for unemployment benefits,
       please contact your local State unemployment office or refer to the State's website for
       information.




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                                             As of 6.2020
